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    1 James N. Procter II – State Bar No. 96589
        Lisa N. Shyer – State Bar No. 195238
    2 PROCTER, SHYER & WINTER
        751 East Daily Drive, Suite 410
    3 Camarillo, California 93010
        Phone: (805) 278-0920 /Facsimile: (805) 278-0289
    4 Email: jim@proctershyer.com / lisa@proctershyer.com

    5 Attorneys for Attorneys for Defendants,
            CITY OF SANTA PAULA and OFFICER CHRIS
    6       RIVERA
    7

    8                        UNITED STATES DISTRICT COURT
    9          CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
   10

   11 JOSEPH L. GARCES,                            CASE NO. 2:21-cv-6730-FLA(PVCx)
   12         Plaintiff,                           DEFENDANTS’ MEMORANDUM OF
                                                   CONTENTIONS OF LAW AND FACT
   13         vs.
   14 CITY    OF SANTA PAULA, a                    Date: April 11, 2023
      municipal entity, OFFICER CHRIS              Time: 8:30 a.m.
   15 RIVERA, an individual and DOES 1             Dept.: 6B
      through 10, inclusive,
   16
                     Defendants.
   17

   18

   19 TO THE COURT, THE PLAINTIFF AND TO HIS COUNSEL OF RECORD:
   20         Defendants, CITY OF SANTA PAULA and OFFICER CHRIS RIVERA submit
   21 the following Memorandum of Contentions of Facts and Law pursuant to Local Rule

   22 16-4:

   23 Plaintiff’s Claim No. 1: Violation of plaintiff’s federal constitutional rights by

   24 subjecting him to excessive force, unlawful detention and unreasonable denial of

   25 medical attention under 42 U.S.C. section 1983.

   26         Affirmative Defenses: 1, 2, 3, 4, 5, 8, 13, 15, 18, 20, 26, 27, 28, 29, 30 and
   27 32.

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                                                                            1        1.     There Was Probable Cause to Arrest Plaintiff Garces for a Violation
                                                                            2 of California Penal Code Section 148 (a)(1)

                                                                            3        California Penal Code section 148(a)(1) provides, in pertinent part: “Every
                                                                            4 person who willfully resists, delays, or obstructs any… peace officer…, in the

                                                                            5 discharge or attempt to discharge any duty of his or her office or employment, when

                                                                            6 no other punishment is prescribed, shall be punished by a fine not exceeding $1,000,

                                                                            7 or by imprisonment in a county jail not to exceed one year…”

                                                                            8        Where an individual walks away from a police officer in the course of an
                                                                            9 investigation when the officer is attempting to gain their cooperation, there is probable

                                                                           10 cause to effectuate an arrest under section 148. (Gonzalez v. City of Huntington Beach,

                                                                           11 C.A. 9 (Cal.) 2021 WL 3210700). Likewise, probable cause to arrest under section 148

                                                                           12 existed where officers instructed detainees not to enter their vehicle and detainees
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                                                                           13 nonetheless did so and started it. (Bernal v. Sacramento County Sheriff’s Department,
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                                                                           14 E.D. Cal. 2022, 2022 WL 1018412).

                                                                           15        In this case, the body camera videos amply demonstrate the plaintiff’s
                                                                           16 obstructive and resistive behavior while the SPPD was attempting to investigate an

                                                                           17 extremely serious crime. The plaintiff repeatedly resisted Detective Rivera’s orders to

                                                                           18 leave the crime scene and delayed and disrupted the investigation by repeatedly and

                                                                           19 continuously screaming profanities at him. When Detective Rivera attempted to make
                                                                           20 contact with plaintiff Garces on 8th Street, while he was still within the crime scene,

                                                                           21 Garces stated emphatically, “No! I ain’t talking to you at all,” and “Get your fucking

                                                                           22 hands off of me” as he raised his right arm above his head, pulling away from Rivera.

                                                                           23 There can be no doubt that Garces willfully resisted, delayed, and obstructed Detective

                                                                           24 Rivera’s investigation, supplying probable cause to arrest him for a violation of

                                                                           25 California Penal Code section 148(a).

                                                                           26

                                                                           27        2. There was reasonable cause to temporarily detain Garces
                                                                           28        “Circumstances short of probable cause for an arrest may justify temporary

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                                                           Case 2:21-cv-06730-FLA-PVC Document 47 Filed 02/24/23 Page 3 of 10 Page ID #:550



                                                                            1 detention of a person by a peace officer for investigation and questioning.” (People v.

                                                                            2 Manis (1969) 268 Cal. App. 2d 653, 658, citing People v. Michelson (1963)59 Cal. 2d

                                                                            3 448, 450. See also, U.S. v. Gaines, 563 F. 2d 1352, 1357 (9th Cir. 1975). “The

                                                                            4 circumstances which allow temporary detention are those which ‘indicate to a

                                                                            5 reasonable man in a like position that an investigation is necessary to the discharge of

                                                                            6 his duties.’” (People v. Manis, supra, at 659, citing People v. Gibson (1963) 220 Cal.

                                                                            7 App. 2d 15, 20).

                                                                            8         “The purpose of a temporary detention is to enable the police to determine, with
                                                                            9 minimum upset to public tranquility and minimum intrusion into personal rights,

                                                                           10 whether they should arrest a suspect and charge him with a crime, or whether they

                                                                           11 should take no action because their initial suspicion proved groundless.” (People v.

                                                                           12 Manis, supra, at 661). In this case, probable cause clearly existed to arrest Garces for
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                                                                           13 a violation of Penal Code section 148(a)(1). Furthermore, the detention was also
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                                                                           14 justified by the circumstances apparent to Det. Rivera, because the plaintiff’s strange

                                                                           15 behavior was delaying and obstructing his investigation. (People v. Manis, supra, at

                                                                           16 659).

                                                                           17         It is undisputed that, when Garces was ordered out of the crime scene, he
                                                                           18 immediately became agitated and belligerent, and began screaming expletives at

                                                                           19 Rivera. Garces initially refused Rivera’s order to leave the crime, challenging his
                                                                           20 authority with the question, “What are you going to do to me? When Garces did begin

                                                                           21 to walk away, he continued to shout profane insults at Rivera. When Garces reached

                                                                           22 the 8th St. sidewalk, he stopped, turned around and began walking back toward the

                                                                           23 interior of the crime scene, all the while shouting expletives and insults at Rivera.

                                                                           24         At the point that Det. Rivera made contact with Garces on 8th St., Garces had
                                                                           25 been repeatedly ordered by two more officers to “step back” and “back up.” When Det.

                                                                           26 Rivera placed his hand on the plaintiff’s shoulder, Garces shouted, “Get your fucking

                                                                           27 hands of me!” raised his right arm above his head and pulled away from him. By this

                                                                           28 point in the incident, Det. Rivera clearly had justification to effect a temporary


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                                                                            1 detention of Garces in order to proceed with his investigation.

                                                                            2        To determine the reasonableness of a detention the court must look to “… the
                                                                            3 gravity of the public concerns served by the seizure, the degree to which the seizure

                                                                            4 advances the public interest, and the severity of the interference with individual

                                                                            5 liberty.” (Maxwell v. County of San Diego, 708 F. 3d 1075, 1083 (9th Cir. 2013)).

                                                                            6 Measured by this standard, the detention of Garces was amply justified. Furthermore,

                                                                            7 as soon as Garces’s statement was taken by Det. Ramirez and it became apparent that

                                                                            8 he would no longer impede or obstruct the investigation, Garces was released, after

                                                                            9 having been detained for less than 20 minutes.

                                                                           10        3.     The Claim That Defendant Rivera Unreasonably Denied Garces
                                                                           11 Medical Care is Without Merit

                                                                           12        To recover on this claim, the plaintiff must present evidence that defendant
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                                                                           13 Rivera actually knew of and disregarded a substantial risk of serious harm to his health
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                                                                           14 or safety. (Farmer v. Brennan, 511 U.S. 825, 837 (1994)). “The Supreme Court has

                                                                           15 stated that negligence, whether gross or simple, is insufficient to prove a constitutional

                                                                           16 violation.” (Kennedy v. City of Ridgefield, 440 F. 3d 1091, 1093-1094 (9th Cir. 2006);

                                                                           17 see also, Daniels v. Williams, 474 U.S. 327, 328 (1986) [negligence is not sufficient to

                                                                           18 prove a claim of deliberate indifference to a person’s medical needs.]).

                                                                           19        In the present case there is no evidence that Garces was denied medical care,
                                                                           20 either deliberately or negligently. Garces never told Rivera that he was injured, nor did

                                                                           21 he request that Rivera summon medical aid for him

                                                                           22        4.     Defendant Rivera Is Entitled to Qualified Immunity
                                                                           23                      1.   Defendant Rivera Is Entitled to Qualified Immunity on the
                                                                           24        Claim of Excessive Force
                                                                           25        Most of the Supreme Court cases discussing the application of qualified
                                                                           26 immunity to a claim of excessive force by police officers involve the use of deadly

                                                                           27 force. Here, the use of force applied by defendant Rivera was far less severe and

                                                                           28 consisted of simply placing Garces in a control hold to prevent him from further


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                                                                            1 delaying, obstructing and impeding a legitimate police investigation. A review of Ninth

                                                                            2 Circuit and Supreme Court decisions reveals that there are no reported cases holding

                                                                            3 that the restraint of an unruly individual under these circumstances violates a clearly

                                                                            4 established statutory or constitutional right. The absence of any such authority

                                                                            5 mandates the application of qualified immunity in this case. (White v. Pauly, supra, at

                                                                            6 552, and District of Columbia v. Wesby, 583 U.S. __, 138 S. Ct. 577, 589 (2018)).

                                                                            7        Detective Rivera did not strike the plaintiff, nor did he exert an amount of force
                                                                            8 that was disproportionate to the plaintiff’s belligerent and obstructive behavior. There

                                                                            9 is no doubt that plaintiff Garces was delaying and interfering with the investigation and

                                                                           10 resisting lawful orders to leave the crime scene. Accordingly, the use of force in this

                                                                           11 case was manifestly reasonable

                                                                           12        In City of Escondido v. Emmons, 139 S. Ct. 500 (2019), the police received a
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                                                                           13 911 call about a possible domestic disturbance at the plaintiff’s apartment. When the
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                                                                           14 police knocked on the door there was no answer, but they were able to contact the

                                                                           15 residents (a man and a woman) through an open side window. (Id. at 501). A few

                                                                           16 minutes later a man (Emmons) opened the apartment door and came outside. Although

                                                                           17 the police officer told the man not to close the door, the man did so anyway and then

                                                                           18 tried to brush past the officer. At this point the officer stopped the man, took him to the

                                                                           19 ground and handcuffed him. (Id. at 502).
                                                                           20        The officer did not hit the man and did not use or display any weapon. Moreover,
                                                                           21 the police body camera video showed that the man was not in any visible or audible

                                                                           22 pain. (Id. at 502). Within a few minutes, the officers helped the man up and arrested

                                                                           23 him for the offense of resisting and delaying a police officer. (Id. at 502). Under these

                                                                           24 circumstances, the Supreme Court held that the officer who took Mr. Emmons to the

                                                                           25 ground and handcuffed him was entitled to qualified immunity in the absence of any

                                                                           26 clearly established law that prohibited his conduct. (Id. at 503).

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                                                                            1               2.   Defendant Rivera is Entitled to Qualified Immunity for the Brief
                                                                            2        Detention of Garces
                                                                            3        Even if there was no probable cause to arrest or detain plaintiff Garces,
                                                                            4 Defendant Rivera is still entitled to qualified immunity unless it can be shown that any

                                                                            5 reasonable police officer would have known that his conduct violated clearly

                                                                            6 established statutory or constitutional rights. (District of Columbia v. Wesby, supra, at

                                                                            7 591; and Anderson v. Creighton, supra, at 641. Under circumstances similar to this

                                                                            8 case, the Supreme Court held that the detention of a subject in handcuffs was protected

                                                                            9 by qualified immunity. (Muehler v. Mena, 544 U.S. 93, 99-100 (2005)). More to the

                                                                           10 point, there appears to be no clearly established law prohibiting defendant Rivera’s

                                                                           11 conduct in detaining the plaintiff, thereby mandating a finding of qualified immunity.

                                                                           12 (Anderson v. Creighton, supra, at 641).
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                                                                           14        Plaintiff’s Claim No. 2: Violation of the Tom Bane Civil Rights Act
                                                                           15        Affirmative Defenses: 1, 2, 4, 5, 8, 13, 15, 18, 20, 26, 27, 28, 29, 30 and 32.
                                                                           16        The Tom Bane Civil Rights Act, codified at California Civil Code section
                                                                           17 52.1(a), provides for liability for the interference or attempted interference with an

                                                                           18 individual’s rights “by threats, intimidation, or coercion.” The only published Bane

                                                                           19 Act case that discusses the meaning of these terms is Cole v. Doe 1 thru 2 Officers of
                                                                           20 the City of Emeryville Police Department, 387 F. Supp. 2d 1084 (N.D. Cal. 2005). In

                                                                           21 Cole, the court held that the use of law enforcement authority to effectuate a detention

                                                                           22 can constitute a threat, intimidation or coercion to bring wrongful conduct within the

                                                                           23 ambit of the Bane Act. (Id. at 1103). The elements of both an excessive force claim and

                                                                           24 a wrongful detention claim under the Bane Act are essentially identical to those of a

                                                                           25 federal action under section 1983. (Wallisa v. City of Hesperia, 369 F. Supp. 3d 990,

                                                                           26 1020 (C.D. Cal. 2019)).

                                                                           27        To prevail under the Bane Act, the plaintiff must prove that the government
                                                                           28 official harbored a specific intent to deprive him or her of their protected rights.


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                                                                            1 (County Inmate Telephone Service Cases (2020) 48 Cal. App. 5th 354, 369, and S. T.

                                                                            2 by and through Niblett v. City of Ceres, 327 F. Supp.3d 1261, 1272 (E.D. Cal. 2018)).

                                                                            3 Furthermore, to constitute a violation of the Bane Act, the statute requires a showing

                                                                            4 of coercion independent from the coercion inherent in the detention itself. (Shoyoye v.

                                                                            5 County of Los Angeles (2012) 203 Cal. App.4th 947, 959-960).

                                                                            6        In the present case, Det. Rivera clearly harbored no “specific intent” to deprive
                                                                            7 the plaintiff of his rights. In addition, the detention and use of force was objectively

                                                                            8 reasonable as a matter of law. Finally, even if the detention was unreasonable, this

                                                                            9 circumstance is still insufficient to constitute a violation of the Bane Act. (Shoyoye v.

                                                                           10 County of Los Angeles, supra, at 959-960).

                                                                           11

                                                                           12        Plaintiff’s Claim No. 3: Battery
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                                                                           13        Affirmative Defenses: 1, 3, 5, 9, 10, 11, 12, 14, 15, m16, 17, 18, 20, 23, 24,
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                                                                           14 25, 26, 27, 28, 29, 30 and 32.

                                                                           15        A battery is an intentional, unlawful, and harmful or offensive touching by one
                                                                           16 person with the person of another. In the context of police cases, a claim for battery

                                                                           17 cannot be established unless it is proven that an officer used unreasonable force.

                                                                           18 (Saman v. Robbins, 173. F. 3d 1150, 1157, n.6 (9th Cir. 1999)). Federal civil rights

                                                                           19 claims of excessive force are the federal counterpart to state battery claims; in both, the
                                                                           20 plaintiff must prove the unreasonableness of the officer’s conduct. (Munoz v. City of

                                                                           21 Union City (2004) 120 Cal. App. 4th 1077, 1102; and Susag v. City of Lake Forest

                                                                           22 (2000) 294 Cal. App. 4th 1401, 1412-1413). The plaintiff bears the burden of proving

                                                                           23 the officer used unreasonable force. Edson v. City of Anaheim (1998) 63 Cal. App. 4th

                                                                           24 1269, 1272. The same analysis as to federal excessive force claims is applied under

                                                                           25 Graham v. Connor. (Munoz, supra, at 1102).

                                                                           26        The “reasonableness” inquiry in an excessive force case is an objective one: the
                                                                           27 question is whether the officer’s actions were “objectively reasonable” in light of the

                                                                           28 facts and circumstances confronting him, without regard to their underlying intent or


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                                                                            1 motivation. (Graham v. Connor, supra, at 396-397). Therefore, the Court’s

                                                                            2 determination as to whether the officer battered the plaintiff by use of excessive force

                                                                            3 is based upon the same standards as the Federal cause of action. Where “the force used

                                                                            4 was not unreasonable [under the Fourth Amendment], the state law claim must fail.”

                                                                            5 Johnson v. County of Los Angeles, 340 F. 3d 787, 794 (9th Cir.2003)).

                                                                            6        Inasmuch as Detective Rivera’s use of force was not excessive or objectively
                                                                            7 unreasonable, the plaintiff’s claim for battery fails as a matter of law.

                                                                            8

                                                                            9        Plaintiff’s Claim No. 4: Negligence
                                                                           10        Affirmative Defenses: 1, 3, 5, 9, 10, 11, 12, 14, 15, 16, 17, 18, 20, 23, 24, 25,
                                                                           11 26, 27, 28 and 32.

                                                                           12        The plaintiff’s claim for negligence is based on the allegation that Detective
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                                                                           13 Rivera acted improperly in the performance of his duties, and that his negligence
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                                                                           14 caused plaintiff’s injuries. At set forth above, Detective Rivera acted reasonably as a

                                                                           15 matter of law throughout this incident and both his use of force, and the detention of

                                                                           16 the plaintiff was reasonable. Simply stated, there was no breach of any duty to the

                                                                           17 plaintiff and there is no evidence of negligence.

                                                                           18

                                                                           19        Respectfully submitted,
                                                                           20 DATED: February 24, 2023              PROCTER, SHYER & WINTER
                                                                           21
                                                                                                                    By:
                                                                           22                                             James N. Procter II
                                                                                                                          Lisa N. Shyer
                                                                           23                                             Attorneys for Defendants,
                                                                                                                          CITY OF SANTA PAULA and OFFICER
                                                                           24                                             CHRIS RIVERA
                                                                           25

                                                                           26

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    1                       STATE OF CALIFORNIA, COUNTY OF VENTURA

    2         I am employed in the County of Ventura, State of California. I am over the age of 18 and
      not a party to the within action. My business address is 751 East Daily Drive, Suite 410, Camarillo,
    3
      California 93010.
    4         On February 24, 2023, I served the foregoing document(s) described as:
    5 DEFENDANTS’ MEMORANDUM OF CONTENTIONS OF LAW AND FACT

    6 on the interested parties in this action by:
        X By CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the documents
    7 with the clerk of the court by using the CM/ECF system. Participants in the case who are registered

    8 CM/ECF users will be served by CM/ECF system. Participants in the case who are not registered
      CM/ECF users will be served by mail or by other means permitted by the court rules. SEE
    9 ATTACHED SERVICE LIST

   10
            (BY E-MAIL) I served the foregoing document by transmitting a true copy thereof via e-mail
   11 as follows: SEE ATTACHED SERVICE LIST

   12
         X (Federal) I declare that I am employed in the office of a member of the bar of this court at
   13                whose direction the service was made.
              Executed on February 24, 2023, at Camarillo, California.
   14
                                                                  /s/
   15

   16                                                 Shellye Cruz

   17

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                                                                                       PROOF OF SERVICE
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    1                                      SERVICE LIST
    2                                   Garces v. City of Santa Paula
                     United States District Court Case No: 2:21-cv-6730-FLA(PVCx)
    3

    4
      Edward M Lyman, III
    5 Cochran Firm California
      4929 Wilshire Boulevard Suite 1010
    6
      Los Angeles, CA 90010
    7 323-435-8205 / Fax: 323-282-5280
      Email: elyman@cochranfirm.com
    8 LEAD ATTORNEY
      ATTORNEY TO BE NOTICED
    9
      Brian T Dunn
   10 Cochran Firm California
      4929 Wilshire Boulevard Suite 1010
   11 Los Angeles, CA 90010
      323-435-8205 / Fax: 323-282-5280
   12 Email: bdunn@cochranfirm.com

   13 ATTORNEY TO BE NOTICED

   14 Gregory J Ramirez
      Law Offices of Gregory Ramirez
   15 220 South A Street Suite 1
      Oxnard, CA 93030-5762
   16 805-483-1090 \ Fax: 805-228-4669
      Email: gramirez@gjramirezlaw.com
   17 ATTORNEY TO BE NOTICED

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